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        EXHIBIT 11
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From: Michael Bloch
Sent: Friday, May 3, 2019 12:28 PM
To: 'Edward ReBrook, ESQ' <rebrooklaw@gmail.com>
Subject: RE: Sines v. Kessler

Mr. ReBrook,

Nice speaking with you. Just to confirm what we discussed, I re‐read the Court’s Imaging order (ECF 383), which states
that Mr. Schoep should fill out the certification attached as Exhibit A and provide it to us. We will forward it on to the
vendor. My understanding is that it does not need to be filed with the Court. Your client’s account credentials and
devices should go straight to the vendor. As I mentioned, we are happy to discuss potential date limitations once we
have a sense of the volume of documents.

I have also attached the list of search terms that Plaintiffs’ requested be run against the Defendants’ accounts and
devices.

Please let me know at your earliest convenience whether you have made a determination as to whether there are any
additional custodians in possession of responsive documents for the entities you represent.

Have a nice weekend.

Michael Bloch | Kaplan Hecker & Fink LLP
Counsel
350 Fifth Avenue | Suite 7110
New York, New York 10118
(W) 929.367.4573 | (M) 646.398.0345
mbloch@kaplanhecker.com


From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
Sent: Thursday, May 2, 2019 4:49 PM
To: Michael Bloch <mbloch@kaplanhecker.com>
Subject: Fwd: Sines v. Kessler

Dear Mr. Bloch:

My clients has mailed his computer to the vendor. Forgive my ignorance, but should I be sending the vendor the
usernames/passwords to the various accounts that my client does have? For example, I know we discussed removing
customer information from orders on the NSM88 Records site, but I'm not sure how to do this and still be in compliance.
Moreover, I want to remove all privileged emails, so does that mean that I'm not giving you the codes/passwords, or are
we just taking everyone's word for it that you're only going to read things you deem relevant? Please advise.

Lastly, this is my first foray into Federal Practice. Do you know if I am supposed to file anything with the court regarding
the documents, computers, accounts, passwords, etc.? Do I need to file something by tomorrow, or is handing over the
requested information to you and/or the vendor make us compliant?

Thank you for your time.

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Best regards,


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telephone (571.215.9006) or by electronic mail and delete this message and all copies and backups thereof. Thank you.




‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
Date: Tue, Apr 23, 2019 at 12:33 PM
Subject: Re: Sines v. Kessler
To: Michael Bloch <mbloch@kaplanhecker.com>


Mr. Bloch:

Thank you for the reply. This email is long, and I apologize for that.

A few things trouble me here ‐ firstly, I don’t believe for a second that this lawsuit is about a conspiracy regardless of
what the complaint says. If it were, you wouldn’t be asking for info from NSM records. It’s clear to me that what your
plaintiffs want is to expose NSM’s members and/or donors so that they can be doxed for all time.

Further, no member of the NSM has been charged criminally for the actions in Charlottesville. You don’t like them, and I
get that. They’re a bunch of racists. But suing them doesn’t give you or your plaintiffs carte blanche permission to
eviscerate my Client’s 4th Amendment rights to be secure in his person and effects. Moreover, the computer you’re
seeking has communications between myself and Mr. Schoep and his previous lawyers. This is Privileged.

As I’ve mentioned, simply naming the “National Front” as a defendant doesn’t make it any more real. Where are they
headquartered or incorporated? They aren’t because there is no National Front. It was a temporary, voluntary alliance
between these groups, but it is not a functioning or ongoing entity. How can I have a defunct, temporary entity that no
longer exists fill out a form for you? I’m really asking.

Lastly, I maintain that I cannot give you what I don’t have, even if you really want me to. Mr. Schoep ‐ my only flesh &
blood, human client ‐ literally does not control several of the things you are requesting (see below). And entities which
are not named defendants in this suit are not subject to your discovery requests.

Regardless, below is a point by point explanation of the each of the things you are requesting and the problem with
handing it over to you:

WEBSITES:
  ‐NSM88.ORG: There is no communication that occurs through this website. Any and all information that may
potentially be needed from this website/domain can be found by going online and directly going to the website itself.
The website is open to the general public and therefore may be viewed by anyone.



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 ‐NSMRADIO.ORG: This isn't even a purchased or active domain. Neither NSM nor Jeff Schoep own or operate this
website.

  ‐NSMMEDIA.ORG: This domain is not owned or operated by the NSM or Jeff Schoep. It is an independently owned
website/domain outside of the NSM or Jeff Schoep and the custodian of the site us unknown to the NSM and Jeff
Schoep.

  ‐NFUNITY.ORG: This domain/website is not and has never been owned/operated by the NSM or Jeff Schoep. It was
an independent website/domain outside of the NSM and Jeff Schoep. It's custodian is believe to be either Matthew
Parrot or Matthew Heimbach. It's webmaster was believed to be Matthew Parrot. Mr. Heimbach is no longer affiliated
with NSM and I have no way of reaching him or Mr. Parrot. Perhaps you’d have better luck trying to go through their
attorneys.

  ‐NSM88RECORDS.COM ‐ This domain is a general merchandise online store. It is not owned by the NSM nor it is
affiliated with the National Socialist Movement. It is independently owned by an LLC outside of the NSM and has
no direct affiliation with the NSM other than the fact that it does carry some NSM merchandise. However, anything that
would be deemed "potentially relevant" may be seen from simply going to the website itself. It is a public domain where
anyone from the public may go and shop for merchandise or collectible items of their choosing. No communication is
done through this site. It is an online store and access to the site would be a violation of customer privacy eg:
 PRESERVATION OF PERSONAL PRIVACY (EXCERPT)
Act 378 of 1988
445.1712 Record or information concerning purchase, lease, rental, or borrowing of books or other written materials,
sound recordings, or video recordings; disclosure of customer identification prohibited; exception.
Sec. 2.
(1) Subject to subsection (2) and except as provided in section 3 or as otherwise provided by law, a person, or an
employee or agent of the person, engaged in the business of selling at retail, renting, or lending books or other written
materials, sound recordings, or video recordings shall not knowingly disclose to any person, other than the customer, a
record or information that personally identifies the customer as having purchased, leased, rented, or borrowed those
materials from the person engaged in the business.

Also, NSM88RECORDS.COM is owned by NSM88 Records LLC, is not a named defendant, and is completely independent
of the NSM. It is an online merchandise and collectibles store independent of NSM. To provide third‐party access to this
domain/website would be a violation of consumer privacy and is protected under both state and federal laws. There is
nothing pertaining to the development of Unite the Right Rally, before, during, or after, related to this website. It is a
website open to all the public and therefore can be viewed publicly by visiting the domain online.

‐Social Media Accounts:
 ‐TWITTER:
@NSM_Media ‐ Neither the NSM nor Jeff Schoep is/was the custodian of this suspended twitter account.

‐ @NSM88 ‐ commander@newsaxon.org is believed to be the custodian's email for this account ‐ the account has been
suspended ‐ this we believe was Mr. Schoep’s old twitter account that the plaintiffs were inquiring about. It has not
been active since 2017.

‐ @natfrontunity ‐ neither the NSM nor Jeff Schoep was the custodian of this account and have no knowledge of who
the custodian is/was for this twitter account.

  ‐ Bitchute Account:
NSMMedia ‐ Neither NSM nor Mr. Schoep is/was the custodian of this Bitchute account and do not have any access to
this BitChute account. We don’t even know what a Bitchute account is.

  ‐YouTube Account:

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NSM Media : The NSM Media YouTube account is independent of the NSM and Jeff Schoep. The custodian of this
account is unknown by NSM and Jeff Schoep and therefore is unable to be produced.

EMAIL ADDRESSES:
JEFFSCHOEP@GMAIL.COM / COMMANDER@NEWSAXON.ORG ‐ is used to communicate with both current and former
attorneys in the Sines v. Kessler lawsuit as well as other privileged matters. We object in the basis of privilege.

COMMANDER@NEWSECTS.ORG ‐ Neither NSM nor Mr. Schoep has ever been a custodian of this email address. Jeff
Schoep has no idea who or what the custodian of this email address may be as they have never seen this email before
now.

GATEWAY COMPUTER:
 ‐Owned by NSM88RECORDS LLC ‐ Defendants cannot produce this computer as it is owned by NSM88 Records LLC ‐
not a named Defendant ‐ and contains private customer information. To hand this over would be an infringement of
consumer rights to privacy by having it imaged by a third party and its contents are more prejudicial than probative.

Best regards,

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and delete this message and all copies and backups thereof. Thank you.

On Apr 23, 2019, at 11:22, Michael Bloch <mbloch@kaplanhecker.com> wrote:

        Dear Mr. ReBrook:



        I never heard back from you on these issues.



        In anticipation of our upcoming conference with the Court, please let me know whether or not Mr.
        Schoep intends to produce his laptop or credentials to the accounts listed below. Please also let me
        know whether or not NSM or NF intend to produce documents in the possession of any other
        custodian.



        If I do not hear from you by close of business tomorrow, I will assume that your clients are unwilling to
        provide any further discovery. Thanks.



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 mbloch@kaplanhecker.com




 From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
 Sent: Tuesday, April 9, 2019 11:17 AM
 To: Michael Bloch <mbloch@kaplanhecker.com>
 Subject: Re: Sines v. Kessler



 Mr. Block:


 I will review these requests with my client and get back to you; however, I am concerned that much of
 what you're requesting is overly broad, duplicative, irrelevant, and/or privileged. My client ‐ Jeff Schoep
 ‐ cannot afford to relinquish his computer, as he needs it for work, to communicate with me, and to
 prepare for Sines v. Kessler and other lawsuits. Also, I believe that any request for electronic
 communications before the Unite the Right Rally was announced and after the Rally ended are
 irrelevant. Obviously, one cannot incite violence in the past. Moreover, many of the things you are
 asking for are not under the control or ownership of my client. He cannot give you what he doesn't
 have. I also have no power to make persons unrelated to this litigation and not under the control of Mr.
 Schoep give me anything. Since Mr. Schoep is the only named defendant for the NSM and the
 "Nationalist Front" (which was never a real, functioning entity), only materials within his possession and
 control are subject to discovery.



 Also, even if I did not have any objections to your requests, I am unsure if your demand can be met in
 the timeframe you have requested. I am on family vacation from this evening through next Tuesday and
 will have very limited access to email, if any, during that time.



 Lastly, please forgive my ignorance, but who are you again? I imagine you are a plaintiff's attorney,
 which plaintiff?




 Best regards,

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 On Mon, Apr 8, 2019 at 6:05 PM Michael Bloch <mbloch@kaplanhecker.com> wrote:

  Mr. ReBrook,



  We understand that you now represent Jeff Schoep, the National Socialist Movement (NSM),
  and the National Front (NF). Prior to your involvement in the case, on November 19, 2018, the
  Court ordered each Defendant to disclose in a sworn certification all social media accounts and
  electronic devices that contained potentially relevant documents or ESI (ECF 379, 383) so that
  those accounts and devices could be submitted to a third-party vendor for imaging and
  collection of responsive documents. Plaintiffs believe your clients failed to disclose in those
  certifications numerous social media accounts and electronic devices that we believe contain
  information responsive to Plaintiffs’ discovery requests. I am writing to ask that each Defendant
  you represent fill out a supplemental certification listing all social media accounts and
  electronic devices that contain potentially relevant documents or ESI. If you believe, for any
  reason, that such accounts or devices need not have been included on the sworn certifications,
  please let us know that as well. Once Defendants provide us with updated, complete
  certifications, we will provide those certifications to the third-party vendor for imaging and
  collection.



  Below is a list of Defendants’ social media accounts and electronic devices that Plaintiffs
  believe contain information responsive to Plaintiffs’ discovery requests that the Defendants
  failed to include in their original certifications. Many of these were identified by the
  Defendants themselves in sworn interrogatory responses. If Defendants are aware of additional
  accounts and devices that contain information responsive to Plaintiffs’ discovery requests,
  Defendants are obligated, as part of their continuing discovery obligations, to include those
  accounts and devices in these supplemental certifications as noted by the Court in the most
  recent status conference.



  Additionally, both NSM and NF identified Jeff Schoep as the sole custodian of documents in
  the possession of each of those entities. To the extent there are additional custodians from
  either of those entities who possess accounts and devices with information responsive to
  Plaintiffs’ discovery requests, those custodians should also be disclosed to Plaintiffs so that
  their documents can be produced. Please let us know if there are any such additional
  custodians.




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  Lastly, as noted in an e-mail sent by Caitlin Fila on March 26, 2019, the third-party vendor
  needs confirmation as to Mr. Schoep’s e-mail account in order to access his documents from
  Twitter. The address they have is effschoep@nsm88, which seems like it may include a
  typographical error. Please confirm for the vendor the correct e-mail address so that Mr.
  Schoep’s Twitter account can be collected and produced.



  We request that you provide us (1) a supplemental certification; (2) the names of any additional
  custodian(s) for NSM and NF; and (3) confirmation as to the email address associated with Mr.
  Schoep’s Twitter account by Thursday, April 11, 2019. Thanks very much for your
  consideration.



  Plaintiffs believe the following electronic devices and social media accounts may contain
  potentially relevant information to this case:



         Gateway desktop computer



             o   This was disclosed to Plaintiffs in an email on June 13, 2018 from Mr. Schoep’s
                 former attorney, Mr. Kolenich, to Christopher Greene as an electronic device
                 used by Mr. Schoep/NSM that contains potentially relevant documents.



         E-mail accounts: commander@newsaxon.org,
          jeffschoep@gmail.com, commander@newsects.org



             o   Although the commander@newsaxon.org account was included in Mr. Schoep’s
                 certification, Mr. Schoep identified this only as the account associated with his
                 VKontakte (BK) account, so the contents of this e-mail address are not currently
                 being collected by the vendor. Plaintiffs believe this account was used to
                 communicate information concerning the events at issue in this case and
                 therefore ask that this account be included in Mr. Schoep’s forthcoming
                 certification so that the contents of the account may be captured in the ESI
                 collection.



         Websites: nsm88.org, NSMradio.org; nsmmedia.org, nsm88records.com
         Bitchute account: NSMMedia
         Twitter account: @NSM88, @NSM_Media, @natfrontunity
         Youtube account: Identified in Mr. Schoep’s response to interrogatories as “NSM media
          or something similar”
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      Website: www.nfunity.org




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